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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                          CASE NO. 15-24012-CIV-ALTONAGA/Reid

  JOSEPH HARVEY,

         Plaintiff,
  v.

  UNITED STATES OF AMERICA, et al.,

        Defendants.
  ___________________________________/

                                                ORDER

         THIS CAUSE came before the Court on Plaintiff’s Motion to Dismiss Defendants [ECF

  No. 12], and Motion for Summary Judgment [ECF No. 126], both filed on September 30, 2019.

  Plaintiff filed his Amended Complaint [ECF No. 122] on September 17, 2019, and to date, several

  of the Defendants have not yet appeared, Defendants have not yet responded to the Amended

  Complaint, and no discovery has been taken. Being fully advised, it is

         ORDERED AND ADJUDGED that the Motion to Dismiss [ECF No. 12] is GRANTED.

  Defendants Reginald Turner and Tommie Robin are dismissed from this action. The Motion for

  Summary Judgment [ECF No. 126] is DENIED as premature and because it fails to comply with

  Federal Rule of Civil Procedure 56 and Local Rule 56.1. Defendants are reminded to file a

  combined response or separate answers to the Amended Complaint once all Defendants have been

  served, and within the time permitted the last-served Defendant to respond.

         DONE AND ORDERED in Miami, Florida, this 30th day of September, 2019.


                                                         _________________________________
                                                         CECILIA M. ALTONAGA
                                                         UNITED STATES DISTRICT JUDGE

  cc:    counsel of record; Plaintiff, pro se
